                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION



 UNITED STATES OF AMERICA,
              Plaintiff,                               No. CR13-3001-MWB
 vs.                                               ORDER CONCERNING
                                               MAGISTRATE’S REPORT AND
 TIM GAILEY,
                                              RECOMMENDATION REGARDING
              Defendant.                        DEFENDANT’S GUILTY PLEA


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                     I. INTRODUCTION AND BACKGROUND
       In a Second Superseding Indictment returned on May 23, 2013, defendant Tim
Gailey is charged with conspiring to distribute 500 grams or more methamphetamine
which contained 50 grams or more of pure methamphetamine, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(A), and 846, distributing 9.9 grams or more of pure
methamphetamine, within 1,000 feet of a school or playground, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(B), and 860(a), distributing 7.13 grams or more of pure
methamphetamine, within 1,000 feet of a school or playground, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(B), and 860(a), and distributing 17.5 grams or more of pure
methamphetamine, within 1,000 feet of a school or playground, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(B), and 860(a), distributing 26.1 grams of a methamphetamine
mixture containing 12.03 grams of pure methamphetamine, within 1,000 feet of a school
or playground, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 860(a), and
possessing with intent to distribute 102.72 grams of a methamphetamine mixture containing
50 grams or more of pure methamphetamine, within 1,000 feet of a school or playground,



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in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 860(a). On June 28, 2013,
defendant appeared before United States Magistrate Judge Leonard T. Strand and entered
a plea of guilty to Counts 1 and 10 of the Second Superseding Indictment. On this same
date, Judge Strand filed a Report and Recommendation in which he recommends that
defendant’s guilty plea be accepted.      No objections to Judge Strand’s Report and
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Recommendation were filed.       The court, therefore, undertakes the necessary review of
Judge Strand’s recommendation to accept defendant’s plea in this case.


                                     II. ANALYSIS
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
             Any party that desires plenary consideration by the Article III
             judge of any issue need only ask. Moreover, while the statute


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       The parties have waived the fourteen day period in which to file objections to
Judge Strand’s Report and Recommendation.

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              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation.       Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Strand’s Report and Recommendation and accepts defendant’s plea of
guilty in this case to Counts 1 and 10 of the Second Superseding Indictment.

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  IT IS SO ORDERED.
  DATED this 28th day of June, 2013.


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                                       MARK W. BENNETT
                                       U. S. DISTRICT COURT JUDGE
                                       NORTHERN DISTRICT OF IOWA




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